  Case 6:18-cv-00438-JA Document 42 Filed 12/04/18 Page 1 of 1 PageID 2060


                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

IN Re: Jodell M. Altier,

      Appellant,                                    Case No.: 6:18-cv-438 -Orl_28
vs.

Goshen Mortgage, LLC

     Appellee,
_______________________/

APPELLANT’S NOTICE OF LIMITED APPEARANCE OF CO-COUNSEL

      The undersigned co-counsel hereby enters his limited appearance on behalf of

Appellant, Jodell M. Altier, for the purposes of conducting and answering discovery,

attendance at depositions as well as attendance at the hearing scheduled for Tuesday,

January 8, 2019 at 10:30 a.m.

                           CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished to: Gene T. Chambers, Trustee, P.O. Box 533987, Orlando, Florida
32801; U.S. Trustee, United States Trustee, Office of the United States Trustee,
George C. Young Federal Building, 400 West Washington Street, Suite 1100,
Orlando, Florida 32801; Justin Luna, Esq., Daniel Velasquez, Esq., at
jluna@lseblaw.com, dvelasquez@lseblaw.com; Michael Nardella, Esquire at
mnardella@nardellalaw.com., on this 4th day of December, 2018.

                                             /s/ Stafford N. Shealy
                                             Stafford N. Shealy, Esquire
                                             Fla. Bar No: 319650
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